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             Exhibit 3




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10   LUXY LIMITED

11                         UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
13

14   REFLEX MEDIA, INC., a Nevada         Case No. 2:20-cv-00423-RGK(KSx)
     corporation; and CLOVER8
15   INVESTMENTS PTE., LTD, a Singapore DEFENDANT LUXY LIMITED’S
16   corporation,                         RESPONSE TO PLAINTIFF
                                          REFLEX MEDIA’S FIRST SET OF
17                Plaintiffs,             INTERROGATORIES
18         v.
                                          Complaint: January 19, 2021
19   LUXY LIMITED, a Chinese corporation, Judge:      Hon. R. Gary Klausner
20
                  Defendant.
21   LUXY LIMITED, a Hong Kong
22   corporation,
23                   Counterclaimant,
24           v.
25   CLOVER8 INVESTMENTS PTE., LTD,
26   a Singapore corporation,
27                   Counter-defendant.
28
                                                                                   Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                1
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 1   PROPOUNDING PARTY:                     Plaintiff, Reflex Media, Inc.
 2   RESPONDING PARTY:                      Defendant, Luxy Limited
 3   SET NO.:                               ONE
 4           Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,
 5   Defendant Luxy Limited. (“Luxy”) hereby responds to the “First Set of
 6   Interrogatories” (the “Interrogatories”) served by Plaintiff Reflex Media, Inc.
 7   (“Reflex” or “Plaintiff”) as follows:
 8                                     PRELIMINARY STATEMENT
 9           The following responses and objections are based on Luxy’s present
10   knowledge after a reasonable investigation. Luxy’s investigation is continuing.
11   That Luxy identifies responsive information does not constitute an admission or
12   acknowledgment that the Interrogatory is proper, that the requested information
13   exists in the possession, custody, or control of Luxy, that the information sought is
14   within the proper bounds of discovery, is relevant or material, or that requests for
15   similar information will be treated in similar fashion. In addition, any and all
16   responses to the Interrogatories are for the purposes of this action only and are not
17   responses for any other purpose, nor may they be used in any other proceeding.
18                                      GENERAL OBJECTIONS
19           1.      Luxy objects to each Interrogatory to the extent that it requires
20   disclosure of information protected by the attorney-client privilege, the work
21   product doctrine, Luxy’s right to privacy, and/or any other applicable privilege or
22   protection.
23           2.      Luxy objects to each Interrogatory that is not limited to a time period
24   relevant to this action as it would be overbroad, unduly burdensome, and not
25   proportional to the needs of the case. Luxy’s responses and investigation will be
26   limited to January 1, 2016 to the present.
27

28
                                                                                     Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                  2
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 1           3.      Luxy objects to each Interrogatory to the extent it requires Luxy to do
 2   anything other than conduct a reasonably diligent search.
 3           4.      Luxy objects to each Interrogatory to the extent it contains
 4   inappropriate express and/or implicit characterizations. The fact that Luxy
 5   provides a response to an Interrogatory does not mean that Luxy adopts, admits, or
 6   otherwise agrees whatsoever with any such characterizations.
 7           5.      Luxy objects to each Interrogatory to the extent it seeks information
 8   regarding conduct outside the United States, which is not relevant to this case.
 9   Luxy’s responses will be limited to the United States.
10           6.      Luxy has not completed its investigation into the subject matter of this
11   action or the underlying facts or evidence. Luxy’s responses are therefore made to
12   the best of Luxy’s current knowledge, information, and belief after good faith
13   investigation of sources reasonably available to it. Luxy reserves the right to
14   conduct additional investigation and discovery, to rely on additional facts,
15   information, documents, or materials, and to supplement its responses to the extent
16   required by the Federal Rules of Civil Procedure and the Local Rules of the
17   Central District of California.
18           7.      The foregoing General Objections apply to each Interrogatory and are
19   hereby specifically incorporated into each response to each such Interrogatory.
20   Any failure to repeat all or any part of such General Objection in any specific
21   response shall not constitute a waiver or other relinquishment of such objection.
22                OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS
23           1.      Luxy objects to each Definition, Instruction, and Interrogatory to the
24   extent that it imposes obligations on Luxy beyond what is required under the Local
25   Rules, the Federal Rules of Civil Procedure, or any other applicable law.
26           2.      Luxy objects to the definition of “DOCUMENT” to the extent it
27

28
                                                                                     Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                  3
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 1   purports to require Luxy to search certain repositories, like “text messages” and
 2   “diaries,” on the ground that it seeks to impose undue burden and expense on
 3   Luxy. Luxy’s searches will be limited to reasonably accessible repositories that
 4   are most likely to contain responsive documents.
 5           3.      Luxy objects to the definition of “COMMUNICATIONS” to the
 6   extent it purports to require Luxy to search certain repositories, like “diaries” and
 7   “daily calendars.” Luxy’s searches will be limited to reasonably accessible
 8   repositories that are most likely to contain responsive documents.
 9           4.      Luxy objects to Instructions 28 and 29 to the extent they seek to
10   impose obligations on Luxy beyond what is required by Federal Rule of Civil
11   Procedure 33 or the Local Rules.
12                                     RESPONSES TO REQUESTS
13   INTERROGATORY NO. 1:
14           Identify the owners (including beneficial owners) of LUXY from its
15   inception to present, including the dates on which each PERSON acquired an
16   ownership interest and the amount of their ownership interest.
17   RESPONSE:
18           Luxy objects to this Interrogatory on the ground that the information it seeks
19   is not relevant to any claim or defense asserted in this case. The identities of every
20   “owner” of Luxy “from its inception to present” are not relevant, nor are the dates
21   each such person “acquired an ownership interest” nor the amount of ownership
22   interest. The term “beneficial owners” is also vague and ambiguous.
23   INTERROGATORY NO. 2:
24           Identify all individuals who are or have been officers or directors of Luxy—
25   including but not limited to those who have served as Chief Executive Officer or
26   an equivalent position—since January 1, 2014.
27

28
                                                                                    Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                 4
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 1   RESPONSE:
 2           Luxy objects to this Interrogatory on the ground that it seeks information
 3   that is not relevant to any claim or defense asserted in this case, namely, the
 4   identities of every officer or director of Luxy from January 1, 2014 to present.
 5           In accordance with this objection, Luxy states as follows:
 6           Ting Yong Tang
 7   INTERROGATORY NO. 3:
 8           Describe, in detail, the circumstances through which YOU first became
 9   aware of REFLEX, including any of the REFLEX PLATFORMS or
10   TRADEMARKS.
11   RESPONSE:
12           Luxy objects that determining when a company “first became aware” of
13   something is a difficult and ambiguous task, given the state of mind of current and
14   past employees of the company is nearly impossible to determine. But after a
15   reasonable investigation, Luxy believes it first became aware of the Seeking
16   Arrangement service on or around June-September 2015 when Brandon Wade
17   emailed Luxy ostensibly about alleged use of Plaintiffs’ purported trademarks and
18   stated, “I am interested in purchasing Luxy, and am wondering if you would
19   consider selling the business.”
20   INTERROGATORY NO. 4:
21           Identify and describe in detail each instance in which YOU have used or
22   caused to be used all or any portion of material (such as text, legal agreements,
23   trademarks, designs, or images) copied or otherwise taken from one or more of the
24   REFLEX PLATFORMS (including any copying that is in any terms of service or
25   privacy policy). Each identification and description of use should include the
26   following: a description of each instance of copying, the date that the copying
27   occurred, the identity of PERSONS directly and/or indirectly involved and their
28
                                                                                   Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                5
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 1   relationship to YOU (such as employment or contractor status), the duration of such
 2   use of the material copied (including the first and last date of use), the first date that
 3   YOU became aware of the source material copied, the date that YOU decided to copy
 4   material, the location that YOU caused the copied material to be used (including
 5   webpage URL, or Application Store (such as the Apple App Store or Google Play
 6   Store) location), details regarding publication, and YOUR reasoning and intent
 7   concerning the copying and use of the copied material.
 8   RESPONSE:
 9           Luxy objects to this Interrogatory on the ground that it contains multiple
10   discrete subparts. Although purportedly seeking only a description of instances in
11   which Luxy has used unspecified materials from the REFLEX PLATFORMS, the
12   Interrogatory asserts at least the following primary questions: (1) a factual
13   description of each alleged instance of copying, including certain dates; (2)
14   identification of the persons involved “directly or indirectly,” and their
15   relationships to Luxy; (3) the date Luxy became aware of the material; (4) the date
16   Luxy purportedly decided to copy the material; (5) details regarding “publication,”
17   a term of art under the Copyright Act; and (6) an explanation of Luxy’s “reasoning
18   and intent.” See Superior Commc’ns v. Earhugger, Inc., 257 F.R.D. 215, 218 (C.D.
19   Cal. 2009) (“Interrogatory no. 1 still has at least three discrete subparts: facts;
20   persons; and documents.”); see also Mailhoit v. Home Depot U.S.A., Inc., 2012
21   WL 12883970, at *4 (C.D. Cal. Sept. 5, 2012) (“[S]pecific questions about the
22   dates the individuals participated in the DMAC, the store the individuals managed
23   at the time of selection, and each individual’s Performance Rating at the time of
24   selection are ‘independent’ of the primary question regarding who attended the
25   DMAC and must be counted separately”).
26           In addition, the Second Amended Complaint alleges two discrete instances
27   of copying, of (1) Reflex’s terms of use and (2) Reflex’s privacy policy. Thus,
28
                                                                                         Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                      6
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 1   Interrogatory 4 is a prime example of gamesmanship intended to avoid Rule 33’s
 2   limit on the number of interrogatories that may be served—essentially demanding
 3   testimony in 6 discrete categories for each of 2 discrete instances of purported
 4   copyright infringement. This Interrogatory must therefore be counted as 12
 5   interrogatories.
 6           Luxy further objects to Interrogatory 4 and its subparts to the extent it seeks
 7   identification of those “indirectly involved” in purported copying, as that phrase is
 8   so vague and ambiguous that Luxy is unable to reasonably ascertain the
 9   information sought.
10           In accordance with these objections, Luxy responds to Interrogatory 4 and
11   its subparts as follows:
12           4.1     Factual description regarding the Reflex terms of use, including
13   material dates. Luxy did not copy Reflex’s terms of use. Luxy outsources many
14   tasks to third-party contractor companies/people, and the creation of the terms of
15   use at issue was done by one such third-party contractor. Luxy did not instruct this
16   third-party contractor to copy Reflex’s terms of use. After a reasonable
17   investigation, Luxy is informed and believes that the terms of use at issue were
18   created around June 2018. That version was in use until approximately January 20,
19   2020, when that version was replaced with a new, substantially dissimilar version
20   on January 21, 2020, which has been in use since, subject to minor revisions.
21           4.2     Identification of persons involved in terms of use. The third-party
22   contractor that created the terms of use at issue is Ins Co., Ltd.
23           4.3     The first date Luxy became aware of Reflex’s terms of use. Luxy first
24   became aware of Reflex’s terms of use on or around January 18, 2020, as a result
25   of Reflex filing this lawsuit.
26

27

28
                                                                                    Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                 7
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 1           4.4     The date Luxy allegedly decided to copy the terms of use. Luxy did
 2   not copy Reflex’s terms of use, nor did it instruct the third-party contractor to do
 3   so, so there was never a “decision” to do so.
 4           4.5     Details regarding publication of the terms of use. The version of the
 5   terms of use at issue was available on Luxy’s website and mobile app.
 6           4.6     Luxy’s “reasoning and intent” regarding the terms of use. Luxy did
 7   not copy Reflex’s terms of use, nor did it instruct the third-party contractor to do
 8   so. The General Data Protection Regulation (“GDPR”) came into full effect in
 9   May 2018, and Luxy was unsure whether its terms of use were satisfactory under
10   that regulation. Accordingly, Luxy asked the third-party contractor to update
11   Luxy’s terms of use to ensure compliance with the GDPR.
12           4.7     Factual description regarding the Reflex privacy policy, including
13   material dates. Luxy did not copy Reflex’s privacy policy. Luxy outsources many
14   tasks to third-party contractor companies/people, and the creation of the privacy
15   policy at issue was done by one such third-party contractor. Luxy did not instruct
16   this third-party contractor to copy Reflex’s privacy policy. After a reasonable
17   investigation, Luxy is informed and believes that the privacy policy at issue was
18   created around June 2018. Luxy is further informed and believes that the third-
19   party contractor used Reflex’s privacy policy as a reference and, prior to
20   publishing Luxy’s privacy policy, attempted to remove all references to Reflex and
21   Reflex’s website, products, and services. Unfortunately, Luxy is further informed
22   and believes that due to an oversight, the terms “SA” and “SA Services” each
23   appeared once in the three-page privacy policy, which is otherwise clearly labeled
24   as coming from Luxy throughout. That version was in use until approximately
25   January 20, 2020, when that version was replaced with a new, substantially
26   dissimilar version on January 21, 2020, which has been in use since, subject to
27   minor revisions
28
                                                                                    Exhibit 3
     DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                 8
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 1            4.8.    Identification of persons involved in privacy policy. The third-party
 2    contractor that created the privacy policy at issue is Ins Co., Ltd.
 3            4.9     The first date Luxy became aware of Reflex’s privacy policy. Luxy
 4    first became aware of Reflex’s privacy policy on or around January 18, 2020, as a
 5    result of Reflex filing this lawsuit.
 6            4.10. The date Luxy allegedly decided to copy the privacy policy. Luxy did
 7    not copy Reflex’s privacy policy, nor did it instruct the third-party contractor to do
 8    so, so there was never a “decision” to do so.
 9            4.11 Details regarding publication of the privacy policy. The version of the
10    privacy policy at issue was available on Luxy’s website and mobile app.
11            4.12 Luxy’s “reasoning and intent” regarding the privacy policy. Luxy did
12    not copy Reflex’s privacy policy, nor did it instruct the third-party contractor to do
13    so. The General Data Protection Regulation (“GDPR”) came into full effect in
14    May 2018, and Luxy was unsure whether its privacy policy was satisfactory under
15    that regulation. Accordingly, Luxy asked the third-party contractor to update
16    Luxy’s privacy policy to ensure compliance with the GDPR.
17    INTERROGATORY NO. 5:
18            Identify and describe in detail each instance in which YOU have used, or
19    caused to be used, all or any portion of phrases contained in the TRADEMARKS
20    (including any non-genuine copy of such phrases). Each identification and
21    description of use should include the duration of such use (including the first and
22    last date of use), the location (including webpage URL, location in metadata, or in
23    any application store (such as the Apple App Store or Google Play Store)), and
24    YOUR reasoning and intent for the use of any phrases (or non-genuine copy of
25    phrases) contained in the TRADEMARKS, the identity of all PERSONS directly
26    and/or indirectly responsible for each instance identified and their relationship to
27    YOU (such as employment or contractor status).
28
                                                                                     Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                 9
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 1    RESPONSE:
 2            Luxy also objects to this Interrogatory on the ground that it contains multiple
 3    subparts. First, the Interrogatory seeks information in three discrete categories: (1)
 4    a factual description of each instance of purported trademark infringement; (2)
 5    identification of the persons involved “directly or indirectly,” and their
 6    relationships to Luxy; and (3) an explanation of Luxy’s “reasoning and intent.” To
 7    answer Interrogatory 5, Luxy would be required to provide testimony in those three
 8    discrete categories as to each discrete instance of purportedly infringing conduct
 9    alleged in the Second Amended Complaint. In addition, Interrogatory 5 purports to
10    include other instances of purported use of Plaintiffs’ trademarks—including
11    “portions” of those marks, which are not relevant to any claim or defense asserted
12    in this case and would impose an undue burden and expense on Luxy. Thus,
13    Interrogatory 5 is improperly compound.
14            Luxy further objects to Interrogatory 5 and its subparts to the extent it seeks
15    identification of those “indirectly responsible” for each instance identified, as that
16    phrase is so vague and ambiguous that Luxy is unable to reasonably ascertain the
17    information sought.
18            In accordance with these objections, Luxy responds to Interrogatory 5 and
19    its subparts as follows:
20            5.1     Description of use of “seeking millionaire” as meta keyword.
21            Luxy did not add the generic phrase “seeking millionaire” as a meta
22    keyword on its website. Luxy outsources many tasks to third-party contractor
23    companies/people, and the creation of its website, which included creating the
24    meta keywords, was done by one such third-party contractor. Luxy did not discuss
25    with the third-party contractor which meta keywords to use, nor did it instruct the
26    third-party contractor to include the generic phrase “seeking millionaire” as a meta
27    keyword. After a reasonable investigation, Luxy is informed and believes that the
28
                                                                                      Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                  10
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 1    generic phrase “seeking millionaire” was included as a meta keyword on the home
 2    page of its website from approximately October 2014 until around September
 3    2017, when Luxy removed it believing that was the only place it was used. Shortly
 4    after Plaintiffs brought this issue to Luxy’s attention by filing this lawsuit in
 5    January 2020, Luxy conducted a further investigation and determined the generic
 6    phrase “seeking millionaire” was also used as a meta keyword on other sub-pages
 7    of its website, so Luxy removed it from there as well.
 8            5.2     Identification of persons involved in use of “seeking millionaire” as
 9    meta keyword. The third-party contractor that included the generic phrase “seeking
10    millionaire” as a meta keyword on Luxy’s website is Nate Chen.
11            5.3     Alleged “reasoning and intent” regarding use of “seeking millionaire”
12    meta keyword. Luxy did not add the generic phrase “seeking millionaire” as a
13    meta keyword to its website, nor did it instruct the third-party contractor to do so.
14    Luxy does not know the third-party contractor’s “reasoning and intent” in selecting
15    the meta keywords, but Luxy is informed and believes that the third-party
16    contractor did not know the generic phrase “seeking millionaire” was a purported
17    trademark, and was merely using the generic phrase to accurately describe Luxy’s
18    website, as many of the potential users of Luxy’s services are, quite literally,
19    “seeking millionaire.”
20            5.4     Description of potential use of “seeking” or “seeking arrangement” on
21    Apple App Store. Luxy did not itself use the generic terms “seeking” or “seeking
22    arrangement” in connection with marketing its mobile app on the Apple App Store.
23    Luxy outsources many tasks to third-party contractor companies/people, and the
24    marketing of its mobile app on the Apple App Store has been done by at least one
25    such third-party contractor. Luxy is informed and believes that some of this work
26    may have been subcontracted to third-party subcontractors as well. Luxy did not
27    instruct the any of the third-party contractors or subcontractors to use the generic
28
                                                                                      Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                  11
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 1    terms “seeking” or “seeking arrangement” in connection with the marketing of
 2    Luxy’s app on the Apple App Store. After a reasonable investigation, Luxy has
 3    been unable to determine whether, when, and/or in what manner such use occurred,
 4    if it occurred at all. Luxy is continuing its investigation and will supplement this
 5    response as additional information becomes available.
 6            5.5     Identification of persons involved in potential use of “seeking” or
 7    “seeking arrangement” on Apple App Store. The third-party contractors and/or
 8    subcontractors referenced above are WoCreate Technology Co., Ltd.; Innovation
 9    Co., Ltd.; Future Co., Ltd.; and Beijing Lbadvisor Technology Co., Ltd.
10            5.6     Alleged “reasoning and intent” regarding potential use of “seeking” or
11    “seeking arrangement” on Apple App Store. Luxy did not itself use the generic
12    terms “seeking” or “seeking arrangement” in connection with marketing its mobile
13    app on the Apple App Store, nor did it instruct any third-party contractor or
14    subcontractor to do so. Luxy is not certain whether, when, and/or in what manner
15    such use occurred, if it occurred at all, so Luxy cannot speculate on the “reasoning
16    and intent” behind such potential use. Luxy is continuing its investigation and will
17    supplement this response as additional information becomes available.
18    INTERROGATORY NO. 6:
19            Identify all revenue generated from any use of any non-genuine copy of, or
20    phrases contained in the TRADEMARKS, and identify and describe each
21    DOCUMENT and COMMUNICATION regarding such profits and an explanation
22    of how such profits were calculated.
23    RESPONSE:
24            Luxy objects to this Interrogatory on the ground that it contains four discrete
25    subparts: (1) identification of “all revenue”; (2) identification of documents and
26    communications regarding “profits”; (3) description of such documents and
27    communications; and (4) explanation of “profits” and how they were calculated.
28
                                                                                     Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                 12
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 1    Luxy further objects to this Interrogatory to the extent it concerns “any use” of
 2    “phrases contained in the TRADEMARKS”—which would include every use in
 3    every context of, e.g., the generic words “carrot,” “dating,” “arrangement,” and
 4    “millionaire”—on the ground that it seeks irrelevant information, would impose an
 5    undue burden and expense on Luxy, and is not proportional to the needs of the
 6    case. Luxy further objects to this Interrogatory to the extent it seeks information
 7    from prior to January 1, 2016, which is not relevant to any claim or defense
 8    asserted in this action. Luxy also objects to this Interrogatory to the extent it seeks
 9    information concerning revenues from outside the United States, which is not
10    relevant.
11            In accordance with the foregoing objections, Luxy responds as follows:
12            Luxy generates revenue and profits primarily through user
13    purchases/subscriptions to its clearly labeled Luxy service. Luxy has not generated
14    any revenue or profits from its alleged use of any of Plaintiffs’ purported
15    trademarks.
16    INTERROGATORY NO. 7:
17            Describe every instance in which any PERSON has been in any way
18    confused, mistaken, or deceived as to the origin or sponsorship of any goods or
19    services sold, provided, or offered for sale by YOU. In describing every such
20    instance, include the date, the names of the people involved, and the context
21    surrounding each instance.
22    RESPONSE:
23            Luxy denies that any actionable consumer confusion has occurred, but for
24    purposes of responding to this very broad Interrogatory, pursuant to Rule 33(d),
25    Luxy will conduct a reasonable search and produce documents responsive to this
26    Interrogatory.
27

28
                                                                                     Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                 13
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 1    INTERROGATORY NO. 8:
 2            Describe YOUR target market for the LUXY PLATFORMS, including age-
 3    range, gender distribution, geographic location, and any other demographics or
 4    behavioral attributions used by YOU to identify YOUR target market, including
 5    those members who are “vouched in” to LUXY.
 6    RESPONSE:
 7            Luxy’s target market in the United States is sophisticated, elite, single,
 8    adults, who have executive jobs, own their own business, or are exceptional in
 9    their career, many of which earn at least $200,000 or more per year, who are
10    seeking an equally sophisticated, elite, and successful match to be in a serious
11    relationship with.
12            Luxy is not for users who just want to get a free ride on a certain lifestyle
13    (i.e., sugar babies) by seeking arrangements with wealthy individuals (i.e., sugar
14    daddies).
15    INTERROGATORY NO. 9:
16            Identify and describe in detail your efforts to remove or prevent the use of
17    your goods or services by any “sugar daters” from the LUXY platforms, including
18    YOUR policy, if you have one, and all instances in which you have received a
19    complaint regarding sugar dating on the LUXY PLATFORMS and the course of
20    action taken by YOU.
21    RESPONSE:
22            Luxy objects to this Interrogatory on the ground that it contains at least three
23    discrete subparts: (1) a description of Luxy’s efforts to remove “sugar daters”; (2)
24    Luxy’s “policy” on sugar dating; and (3) identification of “all instances” in which
25    Luxy has received a complaint regarding sugar dating. Interrogatory 8 must
26    therefore be counted as at least three interrogatories. Luxy further objects to this
27    Interrogatory on the ground that a description of “all instances” in which Luxy has
28
                                                                                      Exhibit 3
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 1    “received a complaint regarding sugar dating” and Luxy’s resulting “course of
 2    action taken” as to all such instances would impose an undue burden and expense
 3    on Luxy and is disproportional to the needs of the case.
 4            In accordance with these objections, Luxy responds as follows:
 5            Since its inception, Luxy’s user guidelines have prohibited the use of its
 6    services for sugar dating. What makes Luxy unique, other than the high quality of
 7    its products, services, and users, is the fact that it facilitates dating between
 8    sophisticated, elite users who each have a professional career and their own superb
 9    financial records. Luxy is not for users who just want to get a free ride on a certain
10    lifestyle (i.e., sugar babies) by seeking arrangements with wealthy individuals (i.e.,
11    sugar daddies). Luxy allows users to verify their incomes by submitting
12    government-issued identification and copies of relevant tax returns. Luxy also
13    makes clear on the homepage of its website, the app page in the Apple App Store,
14    and the app page in the Google Play Store that sugar dating is prohibited. In
15    addition, Luxy’s terms of use prohibit conduct that violates any “code of ethics” or
16    “good citizen behavior,” which includes, but is “not limited to,” “escorting” and
17    “prostitution.” Luxy’s terms also prohibit “[m]isusing the platform for affair
18    dating, adultery, cheating, swinging and any other kinds of sexual-related purposes
19    or non-genuine dating and connecting.” Luxy analyzes new users to ensure they
20    are not looking for sugar dating, and only 10-15% of new users are accepted. Users
21    who suspect potential sugar daters may submit complaints to Luxy. Pursuant to
22    Rule 33(d), Luxy will also produce documents evidencing its enforcement of its
23    policy prohibiting sugar dating.
24    INTERROGATORY NO. 10:
25            Identify every PERSON known to YOU to have, at any time, been a member
26    of any of the REFLEX PLATFORMS who used or purchased goods and/or
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                                                                                       Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                   15
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 1    services from YOU, including the name(s), addresses, and email address(es) used
 2    by each PERSON.
 3    RESPONSE:
 4            Luxy objects to this Interrogatory on the ground that it seeks information
 5    that is not within the possession, custody, or control of Luxy: i.e., the identities of
 6    persons who “have, at any time, been a member of any of the REFLEX
 7    PLATFORMS.” Luxy does not have the means to determine which of its users
 8    “have, at any time, been a member of any of the REFLEX PLATFORMS.”
 9            In accordance with these objections, Luxy responds as follows:
10            Luxy is not aware of any such persons.
11    INTERROGATORY NO. 11:
12            Identify and describe in detail every trademark search LUXY has ever
13    conducted related to REFLEX and its trademarks.
14    RESPONSE:
15            Luxy objects to this Interrogatory to the extent it seeks disclosure of
16    information protected by the attorney-client privilege or work product doctrine.
17            Subject to this objection, Luxy responds as follows:
18            None.
19    INTERROGATORY NO. 12:
20            Identify every opinion, legal or otherwise, requested or received by LUXY
21    regarding the right to use all or any portion, including imitations or non-genuine
22    copies, of the TRADEMARKS in any form, including the identity of the
23    PERSONS requesting the opinion, the date and substance of the opinion, and the
24    PERSONS receiving the opinion.
25    RESPONSE:
26            Luxy objects to this Interrogatory to the extent it seeks disclosure of
27    information protected by the attorney-client privilege or work product doctrine.
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                                                                                      Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                  16
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 1    Luxy further objects to this Interrogatory to the extent it concerns “any portion” of
 2    “the TRADEMARKS in any form,” which would include every use in every
 3    context of, e.g., the generic words “carrot,” “dating,” “arrangement,” and
 4    “millionaire”—on the ground that it seeks irrelevant information, would impose an
 5    undue burden and expense on Luxy, and is not proportional to the needs of the
 6    case.
 7            In accordance with these objections, Luxy responds as follows:
 8            Luxy has neither requested nor received any non-privileged opinions
 9    regarding the TRADEMARKS.
10    INTERROGATORY NO. 13:
11            Describe the degree of care YOU believe is exercised by consumers when
12    deciding whether to purchase/subscribe to YOUR goods or services, including by
13    explaining the basis for YOUR belief.
14    RESPONSE:
15            Luxy believes that consumers of its products and services exercise a high
16    degree of care. As previously explained, Luxy’s target market in the United States
17    is sophisticated, elite, single, adults, who have executive jobs, own their own
18    business, or are exceptional in their career, many of which earn at least $200,000
19    or more per year, who are seeking an equally sophisticated, elite, and successful
20    match to be in a serious relationship with. Such individuals tend to be highly
21    educated and highly discerning, as those with such wealth are constantly faced
22    with offers to purchase products and services in a variety of industries. With regard
23    to Luxy’s products and services in particular, they are generally priced higher than
24    other subscription dating services, meaning potential users exercise a high degree
25    of care before making purchasing decisions.
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                                                                                    Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                17
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 1    INTERROGATORY NO. 14:
 2            Itemize, by dollar amount, LUXY’S revenues for each year since 2014 and
 3    YOUR expected revenue for 2021.
 4    RESPONSE:
 5            Luxy objects to this Interrogatory to the extent it seeks information from
 6    prior to January 1, 2016, which is not relevant to any claim or defense asserted in
 7    this action. Luxy also objects to this Interrogatory to the extent it seeks information
 8    concerning revenues from outside the United States, which is not relevant. Luxy
 9    further objects that this request is overbroad and calls for irrelevant information in
10    that it seeks total revenues, as opposed to revenues from Luxy’s alleged us of
11    Plaintiffs’ purported trademarks or copyrights.
12            In accordance with these objections, Luxy responds as follows:
13            Luxy has not generated any revenue or profits from its alleged use of any of
14    Plaintiffs’ purported trademarks or copyrights.
15    INTERROGATORY NO. 15:
16            Itemize, by dollar amount, LUXY’S profits for each year since 2014 and
17    YOUR expected profit for 2021.
18    RESPONSE:
19            Luxy objects to this Interrogatory to the extent it seeks information from
20    prior to January 1, 2016, which is not relevant to any claim or defense asserted in
21    this action. Luxy also objects to this Interrogatory to the extent it seeks information
22    concerning profits from outside the United States, which is not relevant. Luxy
23    further objects that this request is overbroad and calls for irrelevant information in
24    that it seeks total profits, as opposed to profits from Luxy’s alleged us of Plaintiffs’
25    purported trademarks or copyrights.
26            In accordance with these objections, Luxy responds as follows:
27

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                                                                                     Exhibit 3
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 1            Luxy has not generated any revenue or profits from its alleged use of any of
 2    Plaintiffs’ purported trademarks or copyrights.
 3    INTERROGATORY NO. 16:
 4            Identify and describe all COMMUNICATIONS concerning REFLEX,
 5    including (but not limited to) all discussions, plans, actions, and activities
 6    regarding REFLEX, REFLEX’s brands, the REFLEX PLATFORMS (REFLEX’s
 7    websites and mobile applications), and the TRADEMARKS.
 8    RESPONSE:
 9            Luxy objects to this Interrogatory to the extent it seeks disclosure of
10    information protected by the attorney-client privilege or work product doctrine.
11            Subject to this objection, Luxy responds that, pursuant to Federal Rule of
12    Civil Procedure 33(d), Luxy will conduct a search for COMMUNICATIONS
13    concerning REFLEX and will produce the same within a reasonable time after the
14    service of these responses.
15    INTERROGATORY NO. 17:
16            Identify and describe all YOUR current and future marketing plans,
17    including (but not limited to) any plans to expand into other markets and
18    goods/services.
19    RESPONSE:
20            Luxy objects to this Interrogatory to the extent it seeks information
21    concerning marketing plans or expansion outside the United States, which are not
22    relevant.
23            In accordance with this objection, Luxy responds as follows:
24            Luxy’s current marketing plans include using primarily digital/online/search,
25    social media, earned media, and word-of-mouth marketing to target sophisticated,
26    elite, single, adults, who have executive jobs, own their own business, or are
27    exceptional in their career, many of which earn at least $200,000 or more per year,
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                                                                                        Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                    19
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 1    who are seeking an equally sophisticated, elite, and successful match to be in a
 2    serious relationship with. Luxy’s future plans are to continue doing this and adapt
 3    as new social media platforms and other means of advertising emerge. Luxy does
 4    not plan to expand its services in the United States beyond its current target
 5    market.
 6    INTERROGATORY NO. 18:
 7            Identify all persons that furnished information for the response to all
 8    discovery requests propounded on YOU by REFLEX and designating the number
 9    of each request for which such persons furnished information.
10    RESPONSE:
11            Luxy objects to this Interrogatory to the extent it seeks disclosure of
12    information protected by the attorney-client privilege or work product doctrine.
13            In accordance with this objection, Luxy states as follows:
14            Ting Yong Tang provided information as to all of Luxy’s discovery
15    responses.
16    INTERROGATORY NO. 19:
17            Identify and describe in detail all reasons that YOU allege that each of the
18    TRADEMARKS are generic, including identifying all documents that YOU
19    believe support YOUR allegations.
20    RESPONSE:
21            Luxy objects to this Interrogatory to the extent it seeks disclosure of
22    information protected by the attorney-client privilege or work product doctrine.
23    Luxy objects to this Interrogatory on the ground that discovery is ongoing, and
24    Luxy expects to collect documents from Plaintiffs’ and other sources in the coming
25    months bearing on the genericness of the TRADEMARKS. In addition, Luxy
26    objects to this Interrogatory to the extent it requires Luxy to identify “all
27    documents” supporting Luxy’s contention, on the ground that it would impose an
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                                                                                       Exhibit 3
      DEFENDANT LUXY LIMITED’S RESPONSE TO REFLEX’S FIRST SET OF INTERROGATORIES                   20
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 1    undue burden and expense on Luxy and is not proportional to the needs of the case.
 2    To the extent Plaintiffs’ seek an exhaustive list of all documents supporting Luxy’s
 3    contentions, the pre-trial order is the proper vehicle for such a list, and requiring
 4    Luxy to provide and then constantly update such a list in connection with this
 5    Interrogatory is disproportional to the needs of the case.
 6            In accordance with these objections, Luxy responds as follows:
 7            Plaintiffs’ purported trademarks are generic because the primary
 8    significance of the marks to the relevant public has become the generic name of
 9    goods or services on or in connection with which the marks have been used. Luxy
10    further refers Plaintiffs to paragraphs 12 through 43 of Luxy’s First Amended
11    Counterclaims, including Exhibits C and D thereto, which contain numerous
12    examples of third parties using Plaintiffs’ purported marks generically as well as
13    Plaintiffs’ owner/CEO doing so. Pursuant to Federal Rule of Civil Procedure 33(d),
14    Luxy will also produce documents evidencing the genericness of Plaintiffs’ marks.
15

16

17    Dated: July 15, 2021                       Respectfully submitted,
18

19                                             By:     /s/ Kollin J. Zimmermann
20
                                                       KOLLIN J. ZIMMERMANN
                                                       CAMDEN A. MINERVINO
21                                                     BEATRICE O. STRNAD
22                                                     Attorneys for Defendant and
                                                       Counterclaimant
23                                                     LUXY LIMITED
24

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                                                                                      Exhibit 3
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 1                                          PROOF OF SERVICE

 2            I, Adriana Moreno, declare:
 3           I am employed in the City and County of Los Angeles, California; I am over the age of
      eighteen years and not a party to the within action; my business address is 1801 Century Park
 4    East, Suite 2300, Los Angeles, CA 90067.
 5            On the date set forth below, I served a true and accurate copy of the foregoing document
      entitled DEFENDANT LUXY LIMITED’S RESPONSE TO PLAINTIFF REFLEX
 6
      MEDIA’S FIRST SET OF INTERROGATORIES on the parties in this action by as follows:
 7    Attorneys for Reflex Media, Inc. and Clover8 Investments Pte., Ltd.:
 8            Mark L. Smith (msmith@smithwashburn.com)
              Jacob L. Fonnesbeck (jfonnesbeck@smithwashburn.com)
 9
              SMITH WASHBURN, LLP
10            500 South Grand Avenue, Suite 1450
              Los Angeles, CA 90071
11            Telephone: (213) 418-2390
              Facsimile: (213) 418-2399
12

13                [By E-Mail] I caused said document to be sent by electronic transmission to the
      e-mail addresses indicated for the parties listed above.
14
                   [By First Class Mail] I am readily familiar with my employer’s practice for
15
      collecting and processing documents for mailing with the United States Postal Service. On the
16    date listed herein, following ordinary business practice, I served the foregoing document at my
      place of business, by placing true copies thereof, enclosed in sealed envelopes, with first class
17    postage thereon fully prepaid, for collection and mailing with the United States Postal Service
      where they would be deposited with the United States Postal Service that same day in the
18    ordinary course of business.
19
                   [By Overnight Courier] I caused each envelope to be delivered by a commercial
20    carrier service for overnight delivery to the offices of the addressees.

21                [By Hand] I directed each envelope to the parties so designated on the service list to
      be delivered by courier this date.
22
               I declare under penalty of perjury under the laws of the United States that the foregoing
23    is true and correct, and that this declaration was executed on July 15, 2021, at Los Angeles,
24    California.

25
                                                            /s/ Adriana Moreno
26                                                          Adriana Moreno
27

28
                                                                                                           22
      69763827v.2                                                                               Exhibit 3
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